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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
CHRISTOPHER WILLIAMS,                     )
                                          )
      Plaintiff,                          )
                                          )
             v.                           )
                                          )             Case No. 22-cv-00109 (APM)
NANCY PELOSI, et al.,                     )
                                          )
      Defendants.                         )
_________________________________________ )


                                             ORDER

       For the reasons set forth in the court’s Memorandum Opinion, ECF No. 16, Defendants’

Motion to Dismiss, ECF No. 11, is granted.

       This is a final, appealable order.




Dated: January 24, 2023                                 Amit P. Mehta
                                                 United States District Court Judge
